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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )                     8:10CR158
       vs.                                 )
                                           )
HECTOR PETERS GANDARA,                     )                       ORDER
                                           )
                                           )
                     Defendant.



        This matter is before the court on defendant's UNOPPOSED MOTION FOR
ENLARGEMENT OF TIME TO FILE PRETRIAL MOTIONS [342]. Upon review of the file, the court
finds that an extension of approximately 30 days should be granted. Pretrial Motions shall
be filed by June 13, 2011.

       IT IS ORDERED:

     1.    Defendant's UNOPPOSED MOTION FOR ENLARGEMENT OF TIME TO FILE PRETRIAL
MOTIONS [342] is granted. Pretrial motions shall be filed on or before June 13, 2011.

       2.     Defendant is ordered to file a waiver of speedy trial as soon as practicable.

        3.     The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., the time between May 12, 2011 and June
13, 2011 shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason defendant's counsel required additional
time to adequately prepare the case, taking into consideration due diligence of counsel, and
the novelty and complexity of this case. The failure to grant additional time might result in
a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).

       DATED this 13th day of May, 2011.

                                          BY THE COURT:


                                          s/ F.A. Gossett
                                          United States Magistrate Judge
